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FILED
MAR 18 2025

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, )
)
¥v, ) 4
) 4:250R 0014
THAER MUSTAFA, ) CASE NO.
ELYSSIA SANABRIA, ) Title 21, United States Code,
) Sections 841(a)(1), (b)A1)(C),
Defendants. ) and 846
conr, JUDGE POLSTER
(Conspiracy to Distribute Controlled Substances, 21 U.S.C. § 846)
The Grand Jury charges:

1. From at least in or around February 2023 to on or about February 26, 2025, the
exact dates unknown to the Grand Jury, in the Northern District of Ohio, Eastern Division,
Defendants THAER MUSTAFA and ELYSSIA SANABRIA, and others known and unknown to
the Grand Jury, did knowingly and intentionally combine, conspire, confederate, and agree with
each other to distribute mixtures and substances containing cocaine, a Schedule IT controlled
substance, and JWH-018, a Schedule I controlled substance, in violation of Title 21, United
States Code, Sections 841(a)(1) and (b)(1)(C).

All in violation of Title 21, United States Code, Section 846.
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COUNT 2
(Possession with Intent to Distribute Controlled Substances,
21 U.S.C. §§ 841(a)(1) and (b)(1)(C))
The Grand Jury further charges:

2. On or about February 26, 2025, in the Northern District of Ohio, Eastern Division,
Defendants THAER MUSTAFA and ELYSSIA SANABRIA did knowingly and intentionally
possess with the intent to distribute a mixture and substance containing a detectable amount of
cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Sections
841(a)(1) and (b)(1)(C).

COUNT 3
(Possession with Intent to Distribute Controlled Substances,
21 U.S.C. §§ 841(a)(1) and (b)(1(C))
The Grand Jury further charges:

3. On or about February 26, 2025, in the Northern District of Ohio, Eastern Division,
Defendants THAER MUSTAFA and ELYSSIA SANABRIA did knowingly and intentionally
possess with the intent to distribute a mixture and substance containing a detectable amount of
JWH-018, a Schedule I controlled substance, in violation of Title 21, United States Code,
Sections 841(a)(1) and (b)(1)(C).

FORFEITURE

The Grand Jury further charges:

4, For the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853, the allegations of Counts 1 through 3 are incorporated herein by reference. As a
result of the foregoing offenses, Defendants THAER MUSTAFA and ELYSSIA SANABRIA
shali forfeit to the United States any and all property constituting or derived from any proceeds

obtained directly or indirectly as a result of such violations; and any and all property used or
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intended to be used in any manner or part to commit or to facilitate the commission of such
violations; including, but not limited to, the following:
A. $214,147.00 in U.S. Currency seized on February 26, 2025; and

B. $90,209.00 in U.S. Currency seized on February 26, 2025.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002,
